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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                    )
    KIMBERLEY LAURA SMITH-BROWN, et                 )
    al., Individually and on Behalf of All Others   )      Case No. 1:18-cv-610
    Similarly Situated,                             )
                                                    )      Judge: Jorge L. Alonso
                          Plaintiffs,               )
           v.                                       )      Mag. Judge: M. David Weisman
                                                    )
    ULTA BEAUTY, INC. and ULTA SALON,               )
    COSMETICS & FRAGRANCE, INC.,                    )
                                                    )
                          Defendants.               )
                                                    )
                                                    )

                 DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’
                MOTION TO STRIKE AND REQUEST FOR ADDITIONAL PAGES

          In their Motion to Strike and Request for Additional Pages (Dkt. 262) (“Mot. at __”),

Plaintiffs ask the Court to strike five exhibits submitted with Defendants’ Response in Opposition

to Plaintiffs’ Motion for Class Certification. (Dkt. 254) (“Defs. Opp. at __”). The exhibits

Plaintiffs object to consist of a chart responding to a summary exhibit submitted by Plaintiffs, three

charts with compilations of citations to the voluminous deposition evidence generated in this

matter, and a final chart showing how Rule 23(a)(4) adequacy challenges in Defendants’ brief

apply to each of the 16 proposed class representatives.

          Plaintiffs’ motion should be denied. Plaintiffs argue the Court should strike Exhibit 5 as a

sanction under Federal Rule of Civil Procedure 37(c). First, Plaintiffs’ contention that Defendants’

production was untimely is incorrect. Of the 182 pages Plaintiffs complain about, 1 141 pages are

duplicative of materials that were previously produced. The 41 remaining pages respond to



1
    The production at issue contained 182 pages, not 181 pages. See Mot. at 1.


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arguments Plaintiffs raised for the first time in their motion for class certification. The timing of

Defendants’ production of those documents was consistent with Magistrate Judge Weismann’s

discovery schedule and sequencing.         Second, Plaintiffs’ request is procedurally improper.

Plaintiffs have not raised this purported discovery dispute with Judge Weisman, as required by this

Court’s referral, nor did they meet and confer with Defendants before filing their motion, as

required by Local Rule 37.2.

         Plaintiffs argue that Exhibits 6, 7, and 8 should be stricken because they allegedly violate

the page limit on Defendants’ brief opposing class certification. There is no basis for their

objection. Plaintiffs have not shown that Defendants’ filings either violate a rule or order,

or cause prejudice. Summary exhibits like Defendants’, which aid the court by organizing relevant

evidentiary materials and facilitate review of arguments contained in Defendants’ brief, are

commonplace and appropriate. Plaintiffs have yet to file their reply brief and, if necessary, can

respond to the exhibits at that time.

         Plaintiffs also ask the Court to permit them to file an oversized reply brief of 22 pages.

This is Plaintiffs’ second such request. The Court denied their first request for an expanded reply

brief, but permitted Plaintiffs a 30 page opening brief. As an exhibit to their oversized opening

brief, Plaintiffs filed more than 90 pages of additional briefing designated as a “Proposed Trial

Plan.” Defendants do not believe extra pages on reply are also necessary, or that Plaintiffs have

provided good reason to permit an oversized reply. However, Defendants do not object if the

Court finds the extra pages would be useful to its consideration of the issues.

                                           ARGUMENT

I.       Plaintiffs’ Request To Strike Exhibit 5 Based On The Timing Of The Production Of
         Certain Documents Is Meritless.

         Defendants’ Exhibit 5 is a response to Plaintiffs’ Exhibit 82, which is a summary exhibit



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filed by Plaintiffs. Plaintiffs’ exhibit purports to summarize, but in fact mischaracterizes, certain

customer complaints that they claim reflect putative class members. Defendants’ Exhibit 5

corrects these mischaracterizations, and directs the Court to other record evidence showing that

the customer complaints do not reflect putative class members. See Defs. Opp. at 8-9 (citing

Exhibit 5 and discussing Plaintiffs’ failure to show numerosity). Plaintiffs appear to be arguing

that Exhibit 5 should be stricken as a sanction under Rule 37(c) because it relies “in part” on 182

pages of documents produced on January 15, 2020, the same date Defendants’ brief opposing class

certification was filed. Mot. at 7-8.

          First, Plaintiffs’ complaint about the timing of the production of documents constitutes a

discovery dispute. Plaintiffs failed to meet and confer in advance of their motion, as required by

Rule 37.2 and this Court’s standing orders. The Court has also referred discovery disputes in this

matter to Magistrate Judge Weisman. (Dkt. 42.) Although the parties appeared before Judge

Weisman as recently as January 17, 2020—two days after Defendants’ document production—

Plaintiffs did not raise any issue with the production at that time. Plaintiffs’ failure to comply with

the Court’s referral of discovery disputes, its standing order, and Local Rule 37.2 are sufficient

reason to deny the relief sought.

          Second, Plaintiffs are wrong about the content of Defendants’ January 15, 2020 production,

and whether these documents were “previously withheld.” Mot. at 1. 141 pages of the production,

out of 182 total pages, are duplicative of materials that were produced long before Plaintiffs’ class

certification motion. These pages were produced on January 15, 2020, in a different format for

clarity.2

          Defendants’ production of the remaining 41 pages, which are excerpts of customer


2
    Defendants believe the recently produced versions are easier for the Court to read and understand.


                                                   3
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purchase histories (26 pages) and some additional customer service information (15 pages), was

not untimely. Discovery in this case has not closed.3 The records at issue are directly responsive

to arguments Plaintiffs raised for the first time in their motion for class certification, concerning

the alleged identity of potential class members. (See Plaintiffs’ Ex. 82.) Until Plaintiffs raised

those arguments, the records were not relevant and were also outside the scope of discovery

ordered by Judge Weisman. With regard to purchase history records in particular, Judge Weisman

entered a discovery order on March 7, 2019, stating that such records need not be produced prior

to a ruling on class certification. (Dkt. 167.) That order was entered at Plaintiffs’ request, after

Plaintiffs advised Judge Weisman that they were not seeking those materials prior to class

certification. (Dkt. 166 at 4.) Plaintiffs’ motion to strike is not the appropriate mechanism to re-

visit Judge Weisman’s March 7, 2019 discovery order. 4

         Finally, even if Plaintiffs were correct (and they are not) that 41 pages of documents should

have been produced earlier, that would not justify the sanction they are seeking under Rule 37(c).

Here, unlike cases cited by Plaintiffs, the records were produced, and produced before fact

discovery closed. See Mot. at 7-8 (citing Fauley v. Heska Corp., 326 F.R.D. 496, 508 (N.D. Ill.

2018) (Alonso, J.) (ruling in connection with summary judgment motion); Panel Specialists, Inc.

v. Tenawa Haven Processing, LLC, 2018 WL 6830204 (D. Kan. Dec. 28, 2018) (same)). The

timing of the production was also substantially justified and harmless. See Fed. R. Civ. P. 37(c)(1).

The materials were produced in response to arguments first made in Plaintiffs’ motion for class

certification. Plaintiffs are not prejudiced: they can address any allegedly “new” information in



3
    Plaintiffs produced new documents as recently as December 16, 2019.
4
 Plaintiffs argue the materials should have been produced pursuant to their Document Request
No. 12. Defendants objected to that request, and the documents at issue fall outside the parties’
agreements and the Courts’ discovery orders.


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their reply brief, which is not due until April 1, 2020.

II.       Exhibits 6, 7, 8, and 9 Are Appropriate Compilations Of Evidence Citations And
          Information In Aid Of The Court’s Review.

          Motions to strike do “little to advance the ball in [] litigation” and are disfavored. Paldo

Sign & Display Co. v. Unified Mktg., LLC, 2017 WL 951313, at *4 (N.D. Ill. Mar. 10, 2017)

(Alonso, J.) (denying motion to strike). Even if the materials at issue are procedurally improper,

unless they also cause prejudice to the moving party, the motion to strike should be denied. See,

e.g., id.; Elorac, Inc. v. Sanofi-Aventis Canada, Inc., 343 F. Supp. 3d 789, 792-93 (N.D. Ill. 2018)

(Alonso, J.) (denying motion to strike LR 56.1 response that was improper but defendant could

not “identify . . . any specific substantive prejudice it suffered”).

          Defendants’ Exhibits 6, 7, 8, and 9 are summary exhibits that were submitted to facilitate

the Court’s review of arguments in Defendants’ class certification response brief. These charts

consist primarily of citations to deposition testimony. The deposition transcripts were submitted

separately.     Because these exhibits therefore are proper, and because Plaintiffs have not

demonstrated prejudice, there is no basis to strike them.

          A.     Exhibits 6, 7, 8, And 9 Are Summary Charts That Aid The Court By
                 Organizing Relevant Testimony From The Twenty-Five Depositions Taken In
                 This Case And Other Information.

          Plaintiffs argue that Exhibits 6, 7, and 8 contain “argument” and are an attempt to skirt the

page limit applicable to Defendants’ brief opposing class certification. They claim that Exhibit 9

is “redundant” of Defendants’ brief and violates Rule 12(f). Plaintiffs are incorrect.

          Exhibits 6, 7, and 8 are charts that help organize certain of the record evidence Defendants

submitted with their opposition to class certification. Because this case involves 16 proposed class

representatives, 15 states, and 43 claims, the record evidence is voluminous. In particular, the

parties have taken 25 depositions, with two more to occur before Plaintiffs’ reply. The exhibits



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challenged by Plaintiffs contain record citations, not argument, 5 and all of the cited deposition

transcripts are separately submitted. See Defs. Opp. Exs. 32 to 55. Plaintiffs are not objecting to

the submission of the deposition testimony itself, and so apparently only object to organizational

charts that make it less burdensome for the Court to review and understand that testimony.

Notably, Plaintiffs filed a summary chart as an exhibit to their brief in support of class certification,

allegedly for similar reasons.6 See Mot. at 2. Defendants did not object to Plaintiffs’ summary

chart.

         Numerous decisions in this district and elsewhere have held that such summary exhibits

are proper.7 For example, in Garden City Employees’ Retirement Systems v. Anixter International,

Inc., the court denied a motion to strike a summary exhibit that mapped how the defendants’

arguments applied to portions of the plaintiffs’ complaint. 2011 WL 1303387, at *9 (N.D. Ill.

Mar. 31, 2011). The chart aided the court, did not prejudice the plaintiffs, and was proper. Id. In

Batchelor v. Frisbie, the court denied a motion to strike a summary exhibit that “merely

condense[d] the information found in [a] deposition” and could be used as a “tool for the Court

. . . in its review of the record.” 2009 WL 10715185, at *8 (S.D. Ind. Dec. 11, 2009). And, in U.S.

ex rel K & R Ltd. Partnership v. Mass. Housing Finance Agency, the court denied a motion to

strike a 57-page summary chart that organized facts and arguments, was “submitted in good faith,”


5
  Exhibit 6 organizes citations to deposition testimony from each named plaintiff, Exhibit 7
organizes citations to deposition testimony from current and former employees, and Exhibit 8
organizes citations to employment records and deposition testimony from certain individuals who
provided declarations in support of Plaintiffs. Each exhibit corresponds to arguments set out in
Defendants’ brief. (Def. Opp. at 3-6, 11-15, 17-18, 20, and 23.)
6
  Plaintiffs also submitted, as an exhibit, more than 90 pages of additional briefing that they
designated a “Proposed Trial Plan.” (See Dkt. 232.) Defendants filed a response with their
opposition brief. (See Defs. Opp. Ex. 2.)
7
 There is no local rule or standing order addressing the use of summary exhibits that compile
deposition citations or other evidentiary citations to aid the Court.


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and prevented “organizational work that the Court would otherwise have to take upon itself.” 456

F. Supp. 2d 46 (D.D.C. 2006). See also E.E.O.C. v. Dial Corp., 156 F. Supp. 2d 926, 960 n. 22

(N.D. Ill. 2001) (noting that defendant submitted a chart as an exhibit to its reply brief that

summarized class members’ individual claims and defendants’ arguments).

         Plaintiffs have not identified a single decision striking exhibits similar those submitted by

Defendants. In Integrated Cards, L.L.C. v. McKillip Industries, cited by Plaintiffs, the court struck

a 26-page “exhibit” of text that consisted of summary judgment arguments. 2008 WL 3286981,

at *7 n.7 (N.D. Ill. Aug. 8, 2008). In Solaia Tech. LLC v. ArvinMeritor, Inc., the court struck a

seven-page substantive response to the opposing party’s Rule 56.1 statement. Evans v. United

States Department of the Interior involved motions to strike portions of declarations that were not

made on personal knowledge. 135 F. Supp. 3d 799, 810 (N.D. Ind. 2015). In Rochlin v. Cincinnati

Insurance Co., the court disregarded an appendix of eight pages of legal citations with

parentheticals and exhibits that contained “large portions of the [party’s] argument,” such as

discussion of plaintiffs’ use of statistical evidence.8 2003 WL 21852341, at *8 (S.D. Ind. July 8,

2003).

         Finally, Exhibit 9 is a summary chart to aid the Court’s review of Defendants’ Rule 23(a)(4)

adequacy challenges. As Plaintiffs admit, the same information is set out in Defendants’ brief

opposing class certification. Mot. at 8. Plaintiffs’ sole argument for striking Exhibit 9 is that it

allegedly is “redundant” under Federal Rule of Civil Procedure 12(f). However, Rule 12(f) does



8
  The other two cases Plaintiffs mention in their motion provide no support for their request to
strike. Morgan v. South Bend Community School Corporation involved a party who submitted a
54 page brief, rather than 50 pages. 797 F. 2d 471 (7th Cir. 1986). Even then, the court did not
strike the brief. Id. Second, Native American Arts, Inc. v. Peter Stone Co. involved a supplemental
and successive memorandum filed after defendants had already filed summary judgment brief.
2015 U.S. Dist. LEXIS 4626, at *5 (N.D. Ill. Jan. 14, 2015).


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not apply to motion practice, only pleadings. Fed. R. Civ. P. 12(f); see also Hrubec v. National

R.R. Passenger Corp., 829 F. Supp. 1502, 1506 (N.D. Ill. 1993) (explaining that Rule 12(f) does

not apply to motion practice).

        B.      Plaintiffs Are Not Prejudiced By Exhibits 6, 7, 8, And 9.

        Even if Plaintiffs had shown that Exhibit 6, 7, 8, or 9 violated a local rule or court order

(which they have not), the motion to strike still should be denied. Plaintiffs have not been

prejudiced by the challenged exhibits in any way. They can address the exhibits in connection

with their reply brief, if they so choose. Indeed, Plaintiffs suggest they intend to respond to the

exhibits whether the motion to strike is granted or denied. See Mot. at 9. Furthermore, although

Defendants do not believe Plaintiffs have identified good reason for additional pages, infra Section

III, if the Court grants leave for an oversized reply brief, it would eliminate Plaintiffs’ alleged

prejudice.

        Accordingly, Plaintiffs’ motion to strike Exhibits 6, 7, 8, and 9 should be denied. 9

III.    Plaintiffs Have Provided No Good Reason For An Oversized Reply Brief.

        This is Plaintiffs’ second request for leave to submit an oversized reply brief. On July 24,

2019, Plaintiffs requested leave to file an oversized initial brief in support of their motion for class

certification of 45 pages, and an oversized reply brief of 23 pages. (Dkt. 203.) The Court rejected

that request, and instead granted Plaintiffs leave only to file an oversized initial brief of 30 pages.

(Dkt. 205.) Plaintiffs now ask the Court to reconsider that ruling, and permit a reply brief of




9
  Plaintiffs raise other arguments, in passing, that provide no basis for striking any part of
Defendants’ submissions. Plaintiffs complain that the font size in Exhibit 6 is “miniscule” and
“unreasonable” to review. Defendants provided a copy of Exhibit 6 to the Court on 11x17 size
pages, which results in a normal size font. Plaintiffs also assert that certain information in the
exhibits is “premature” for the Court to consider on a motion for class certification, see Mot. at 4-
5, 6, but that is an argument for a reply brief, not a basis to strike Defendants’ filing.


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22 pages.

        Plaintiffs were already granted up to 45 pages of briefing (30 pages for an initial brief, and

15 pages on reply) to support their motion for class certification, and submitted more than 90

additional pages of Proposed Trial Plan briefing as an exhibit. Defendants were permitted 30 pages

of briefing in response to Plaintiffs’ motion for class certification, and also responded to Plaintiffs’

Proposed Trial Plan. Plaintiffs have provided no good reason why they cannot adequately set out

their reply arguments within the existing page limits. Nevertheless, if the Court believes extra

pages on reply would be useful to its consideration of the issues, Defendants do not object to

Plaintiffs’ request for leave.

                                           CONCLUSION

        For the foregoing reasons, the Court should deny Plaintiffs’ Motion to Strike and Request

for Additional Pages.

Dated: February 24, 2020                                Respectfully submitted,


                                                        By: /s/ Craig C. Martin

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                                 CERTIFICATE OF SERVICE

       I, Paul B. Rietema, an attorney, certify that on this 24th day of February, 2020, I caused a

copy of the foregoing Defendants’ Response in Opposition to Plaintiffs’ Motion to Strike and

Request For Additional Pages to be filed with the electronic filing system of the Northern District

of Illinois, which will automatically serve all counsel of record.

                                                        /s/ Paul B. Rietema
                                                      Attorney for Defendants




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